


  Appeal from a judgment of the County Court of Albany County (Herrick, J.), rendered August 17, 2015, convicting defendant upon his plea of guilty of the crime of criminal sale of a controlled substance in the third degree.
 

  In satisfaction of a one-count indictment and other pending charges, defendant pleaded guilty to criminal sale of a controlled substance in the third degree. As part of the plea agreement, he waived his right to appeal, both orally and in writing. Although County Court advised defendant of the maximum and minimum sentences that he could receive, no specific sentence was promised as part of the plea agreement. County Court ultimately sentenced defendant to 5V2 years in prison and three years of postrelease supervision. He now appeals.
 

  Appellate counsel seeks to be relieved of his assignment of representing defendant on the ground that there are no nonfrivolous issues to be raised on appeal. Based upon our review of the record, counsel’s brief and defendant’s pro se brief, we agree. Therefore, the judgment is affirmed and counsel’s request for leave to withdraw is granted (see People v Cruwys, 113 AD2d 979, 980 [1985], lv denied 67 NY2d 650 [1986]; see generally People v Stokes, 95 NY2d 633 [2001]).
 

  Peters, P.J., McCarthy, Devine, Clark and Mulvey, JJ., concur.
 

  Ordered that the judgment is affirmed, and application to be relieved of assignment granted.
 
